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EXHIBIT I
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Column Record 1 Calculation
rec_id 143321
rec_code 62
tpl_segs 0
tcn 40009800001036000
remit_number 807827
voucher_number 2520
claim_form_ind R
provider_num 465205
provider_cos 30
provider_type 70
provider_county 83
provider_zip 40000000
pay_to_prov_number 465205
pay_to_prov_type 70
date_billed 98
entry_date 98
susp_date 0
cycle_date 112
adj_date 98
paid_date 117
orig date 0
hist_date 0
first_dos 97
last_dos 97
eob_codel 0
eob_code2 0
curr_loc_date 112
other_ins_ind 1
charge_amt 293.43
non_cov_chgs 0
recip_ pmt_amt 0
comp_recip_pmt 0
comp_interest 0
third_prty_pmt 0
medicare_pmt 0
net_claim_chrg 293.43
reimbursement_amt 35 A
pa_number 0
demo_proj_ num

prescript_dt 97
prescribe_phys 299467
script_num 53085
ther_class W8F
refill_ind N
refills num 0
submitted_units 5000

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drug qty 5000
pa_line_num

allow_chrg 3500
allow_chrg_src C

ndc 00074613802
icn 0
days supply 0
num_exceptions 0
ncpdp_exec_cd1

ncpdp_li_num1 0
ncpdp_status1

ncpdp exec_cd2

ncpdp_li_num2 0
ncpdp_status2

ncpdp_exec_cd3

ncpdp_li_num3 0
ncpdp_status3

ncpdp_exec_cd4

ncpdp_li_num4 0
ncpdp_status4

ncpdp_exec_cd5

ncpdp_li_num5 400
ncpdp_ statusS

tpl_carrier_id1 0
tpl_carrier_id2 0
tpl_carrier_id3 0
STECK_date_billed 20000407
STECK_entry_date 20000407
STECK_susp_date 0
STECK_cycle_date 20000421
STECK_adj_date 20000407
STECK_paid_date 20000426
STECK_orig_date 0
STECK_hist_date 0
STECK_first_dos 20000406
STECK_last_dos 20000406
STECK_curr_loc_date 20000421
STECK_prescript_dt 0
STECK_ID 3973914
Per Unit Ingredient Cost 0.00626

(A - 3.70) /B
